                Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 1 of 12




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JESSE NACHTIGALL                                       :
200 South Courtland Street                             :
East Stroudsburg, PA 18301                             :        CIVIL ACTION
                                                       :
                    Plaintiff,                         :        No.:
           v.                                          :
                                                       :        JURY TRIAL DEMANDED
ECOPAX, LLC d/b/a ECOPAX                               :
3600 Glover Road                                       :
Easton, PA 18040                                       :
       and                                             :
PANDO CUP, LLC                                         :
1355 Easton Road                                       :
Bethlehem, PA 18015                                    :
                                                       :
                    Defendants.                        :
                                                       :

                                       CIVIL ACTION COMPLAINT

           Jesse Nachtigall (hereinafter referred to as “Plaintiff”), by and through his undersigned

counsel, hereby avers as follows:

                                               INTRODUCTION

           1.       Plaintiff has initiated this action to redress violations by Ecopax, LLC and Pando

Cup, LLC (hereinafter referred to collectively as “Defendants”) of the Americans with Disabilities

Act, as amended (“ADA” - 42 USC §§ 12101 et. seq.), the Pennsylvania Human Relations Act

(“PHRA”)1 and Pennsylvania common law. Plaintiff was terminated because of his disabilities

and in retaliation for requesting accommodations and filing a worker’s compensation claim and he

suffered damages more fully described/sought herein.

                                       JURISDICTION AND VENUE

           2.       Plaintiff resides in and is a citizen of Pennsylvania.


1
    Plaintiff will seek to amend his Complaint to add PHRA claims once those claims are administratively exhausted.
             Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 2 of 12




        3.        Upon information and belief, Defendants are headquartered in Pennsylvania.

        4.        This action is being initiated pursuant to a Federal law (ADA) and therefore, the

United States District Court for the Eastern District of Pennsylvania has original subject matter

jurisdiction over this action pursuant to 28 U.S.C. § 1331 because the claims arise under the laws

of the United States. This Court has supplemental jurisdiction over Plaintiff’s state law claims

because they arise out of the same circumstances and are based upon a common nucleus of

operative fact.

        5.        This Court may properly maintain personal jurisdiction over Defendants because

their contacts with this state and this judicial district are sufficient for the exercise of jurisdiction

over Defendants to comply with traditional notions of fair play and substantial justice, satisfying

the standard set forth by the United States Supreme Court in Int’l Shoe Co. v. Washington, 326

U.S. 310 (1945), and its progeny.

        6.        Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this district

because Defendants reside in and/or conduct business in this judicial district and because a

substantial part of the acts and/or omissions giving rise to the claims set forth herein occurred in

this judicial district.

        7.        Plaintiff filed a Charge of discrimination and retaliation with the Equal

Employment Opportunity Commission (“EEOC”) and also dual-filed said charge with the

Pennsylvania Human Relations Commission (“PHRC”). Plaintiff has properly exhausted his

administrative proceedings before initiating this action by timely filing and dual-filing his Charge

with the EEOC and PHRC, and by filing the instant lawsuit within 90 days of receiving a right-to-

sue letter from the EEOC.




                                                    2
             Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 3 of 12




                                              PARTIES

        8.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        9.      Plaintiff is an adult individual residing at the address set forth in the above-caption.

        10.     Defendant Ecopax, LLC (“Ecopax) is a manufacturer of paper cups, containers,

food trays and other items and has headquarters in Easton, PA.

        11.     Defendant Pando, LLC (“Pando”) is a service manufacturer specializing in the

paper packaging industry and has headquarters in Bethlehem, PA

        12.     Upon information and belief, Ecopax owns, operates and/or oversees Pando.

        13.     Defendants should be considered Plaintiff’s single, joint and/or integrated employer

because each Defendant had control over the terms and conditions of Plaintiff’s employment. For

example:

                a. Defendant Ecopax paid Plaintiff and this entity appears on his pay stubs. Thus,
                Defendant Ecopax controlled the terms and conditions of Plaintiff’s compensation;

                b. Defendant Ecopax controlled the terms and conditions of Plaintiff’s benefits,
                including health insurance, retirement benefits and other benefits;

                c. Plaintiff was provided Defendant Ecopax’s policies and required to comply with
                them;

                d. Plaintiff physically worked at Defendant Pando’s location and was supervised
                on a day-to-day basis by employees of Pando;

                e. Defendants have common and/or overlapping ownership, management, human
                resources, financial and supervisory personnel;

                f. Defendants controlled the terms and conditions of Plaintiff’s hiring and
                termination.




                                                   3
           Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 4 of 12




        14.     At all times relevant herein, Defendants acted by and through their agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendants.

                                   FACTUAL BACKGROUND

        15.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        16.     Plaintiff was hired by Defendants in or about late April 2023.

        17.     Plaintiff was hired and worked as a full-time flexographic machine operator.

        18.     Plaintiff was qualified for this job, as he possesses the requisite skill and knowledge

for this position.

        19.     Plaintiff worked at Defendants’ location in Bethlehem, PA and often worked in

excess of 40 hours per week.

        20.     Plaintiff was primarily supervised by Steve Shannigan (Lead), David Lantz

(Printing Manager), Byron (last name unknown) (Manager) and Christina (last name unknown)

(Plant Manager).

        21.     Plaintiff performed his job well and was initially issued positive performance

feedback regarding his work.

        22.     At all times relevant herein, Plaintiff has suffered from mental health disabilities,

including but not limited to, anxiety and depression.

        23.     These conditions interfere with and limit Plaintiff’s daily functioning, including but

not limited to sleeping, concentrating, focusing, thinking, doing daily chores and, at times,

working.




                                                  4
           Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 5 of 12




        24.     Plaintiff has obtained medical/mental health treatment for these conditions for the

last approximate three years and has been prescribed medication.

        25.     In or about late May or early June 2023, Plaintiff informed Defendants’

management that if he sometimes seems quiet or withdrawn at work, it is because he suffers from

anxiety and depression.

        26.     He informed Defendants’ management that he may need a few days off (here and

there) because of these mental health conditions.

        27.     On or about June 19, 2023, Plaintiff suffered a work-related injury to his abdomen

muscles.

        28.     Plaintiff reported the injury to Defendants’ management and, because he was in

severe pain, requested to obtain medical care.

        29.     On or about June 19, 2023, Plaintiff went to St. Luke’s Occupational Medicine to

obtain treatment.

        30.     He was diagnosed with a strain of his abdomen muscles and given work-related

restrictions, including restricted duty, no bending, squatting, kneeling, “no repetitive use of the left

lower extremity” and other restrictions.

        31.     On or about June 19, 2023, as a result of Plaintiff’s work-related injury, Defendants

prepared and filed a worker’s compensation claim on his behalf.

        32.     After Plaintiff reported the work injury, he noticed a change in Defendants’

management’s demeanor and treatment of him, including being treated in a cold and distant

manner, being repeatedly asked how he injured himself, if he was really injured and other

demeaning treatment.




                                                   5
          Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 6 of 12




       33.       Due to the pain and restrictions Plaintiff experienced as a result of the work-related

injury, he requested a short medical leave of absence, from June 19, 2023 until July 1, 2023.

       34.       Plaintiff was then released to return to work on or about July 1, 2023 but because

of the July 4th holiday, was told to return to work on July 5, 2023.

       35.       On or about July 5, 2023, Plaintiff returned to work.

       36.       Shortly after he arrived, he was asked to meet in Defendants’ Human Resources

(“HR”) office.

       37.       While in HR, Plaintiff was informed by Byron and Doreen Kutzler (Senior HR

Consultant) that he was being terminated.

       38.       Initially, Defendants did not provide Plaintiff any reason or explanation for his

termination.

       39.       When Plaintiff politely pressed them for a reason, they told him that he was being

terminated for business reasons and that business was slow.

       40.       However, this explanation did not make any sense to Plaintiff, as Defendants’

management repeatedly told him how busy they were, that they needed him to work overtime and

that they were still looking to hire machine operators.

       41.       Plaintiff believes and therefore avers that he was terminated because of (1) his

known and/or perceived disabilities; (2) his record of impairment; (3) his requested

accommodations; and (4) in retaliation for filing a worker’s compensation claim.




                                                   6
           Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 7 of 12




                                           COUNT I
            Violations of the Americans with Disabilities Act, as Amended (“ADA”)
                    ([1]Actual/Perceived/Record of Disability Discrimination;
                                           and [2] Retaliation)
                                   - Against Both Defendants -

        42.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        43.      Plaintiff suffers from qualifying health conditions under the ADA which affected

his ability (at times) to perform some daily life activities.

        44.      Plaintiff kept Defendants’ management informed of his medical conditions and

need for accommodations

        45.      Despite Plaintiff’s aforementioned health conditions and limitations, he was still

able to perform the duties of his job well with Defendants; however, Plaintiff did require

reasonable medical accommodations at times, including periodic time off because of his medical

conditions.

        46.      Plaintiff was terminated from Defendants within a few weeks after disclosing his

medical conditions and requesting reasonable medical accommodations.

        47.      The alleged reason Plaintiff was given for his termination is untrue and unworthy

of credence.

        48.      At the time of his termination, Plaintiff was offered an unsolicited severance

agreement, which required Plaintiff to waive any and all legal claims against Defendants in

exchange for a small amount of money.2



2
  An offer of severance can constitute evidence of pretext. See Staffieri v. Northwestern Human Servs., 2013 U.S.
Dist. LEXIS 72115 at **14-15 (E.D. Pa. 2013)(an employer who offered severance at the time of termination when
policies did not require upon condition of waiving FMLA claim supported finding of pretext in wrongful termination
claim, among other evidence); Bartlett v. NIBCO Inc., 2011 U.S. Dist. LEXIS 28072 (N.D. Ind. 2011)(finding that a
severance agreement offered contemporaneously to when the employee was terminated was “probative on the issue
of whether NIBCO's motive for terminating Bartlett was retaliatory”); Karl v. City of Mountlake Terrace, 2011 U.S.

                                                        7
           Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 8 of 12




         49.    To Plaintiff’s knowledge, Defendants did not have any policy requiring an offer of

severance to him.

         50.    Plaintiff believes and therefore avers that he was terminated by Defendants due to

(1) his known and/or perceived disabilities; (2) his record of impairment; and (3) his requested

accommodations.

         51.    These actions as aforesaid constitute violations of the ADA.

                                            COUNT II
                            Violations of Pennsylvania Common Law
                                      (Wrongful Discharge)
                                   - Against Both Defendants –

         52.    It is clearly prohibited in this Commonwealth to terminate an employee for either

reporting a work injury or pursuing a worker’s compensation claim. Shick v. Shirey Lumber, 552

Pa. 590, 716 A.2d 1231 (Pa. 1998); Grasty v. World Flavors, Inc., 2011 U.S. Dist. LEXIS 89277,

at *27 (E.D. Pa. 2011).

         53. Plaintiff was terminated because of his work injuries and worker’s compensation

claim.

         54. Plaintiff was terminated within two weeks of reporting a work injury and initiating a

worker’s compensation claim.

         55.   Defendants treated Plaintiff with animosity between the date of his worker’s

compensation claim and termination.

         56. Defendants’ conduct, as aforesaid, is a violation of Pennsylvania common law.

         WHEREFORE, Plaintiff prays that this Court enter an Order providing that:




Dist. LEXIS 59085 (W.D. Wash. 2011)(severance agreements are admissible in retaliation claims when made
contemporaneous to termination, as they are not governed by Fed.R.Evid. 408).

                                                  8
            Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 9 of 12




       A.      Defendants are to promulgate and adhere to a policy prohibiting discrimination and

retaliation in the future against any employee(s);

       B.      Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay increases,

bonuses, insurance, benefits, training, promotions, reinstatement and seniority;

       C.      Plaintiff is to be awarded punitive damages, as permitted by applicable law, in an

amount believed by the Court or trier of fact to be appropriate to punish Defendants for their

willful, deliberate, malicious and outrageous conduct and to deter Defendants or other employers

from engaging in such misconduct in the future;

       D.      Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper and appropriate (including but not limited to damages for emotional distress, pain, suffering

and humiliation);

       E.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law; and

       F.      Plaintiff is to be given a jury trial as demanded in the caption of this Complaint.

                                                      Respectfully submitted,

                                                      KARPF, KARPF & CERUTTI, P.C.

                                              By:     _____________________
                                                      Ari R. Karpf, Esq.
                                                      Jeremy M. Cerutti, Esq.
                                                      3331 Street Rd.
                                                      Two Greenwood Square, Suite 128
                                                      Bensalem, PA 19020
                                                      (215) 639-0801



Dated: October 30, 2023

                                                  9
   Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 10 of 12




             gÉëëÉ=k~ÅÜíáÖ~ää



bÅçé~ñI=ii`=ÇLÄL~=bÅçé~ñI=Éí=~äK




NMLPMLOMOP
                             Case 5:23-cv-04185-JFL  Document
                                                UNITED           1 Filed
                                                       STATES DISTRICT   10/30/23 Page 11 of 12
                                                                       COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                       OMM=pçìíÜ=`çìêíä~åÇ=píêÉÉíI=b~ëí=píêçìÇëÄìêÖI=m^=NUPMN
Address of Plaintiff: ______________________________________________________________________________________________
                       PSMM=däçîÉê=oç~ÇI=b~ëíçåI=m^=NUMQMX=NPRR=b~ëíçå=oç~ÇI=_ÉíÜäÉÜÉãI=m^=NUMNR
Address of Defendant: ____________________________________________________________________________________________
                                             aÉÑÉåÇ~åíë=éä~ÅÉ=çÑ=ÄìëáåÉëë
Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
          NMLPMLOMOP
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


          NMLPMLOMOP
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
                                     Case 5:23-cv-04185-JFL Document 1 Filed 10/30/23 Page 12 of 12
JS 44 (Rev. 06/17)                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
                                                                                                          b`lm^uI=ii`=aL_L^=b`lm^uI=bq=^iK
    k^`eqfd^iiI=gbppb
     (b) County of Residence of First Listed Plaintiff              jçåêçÉ                                  County of Residence of First Listed Defendant                 kçêíÜ~ãéíçå
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
h~êéÑI=h~êéÑ=C=`ÉêìííáI=mK`KX=PPPN=píêÉÉí=oç~ÇI=qïç=dêÉÉåïççÇ=pèì~êÉI
pìáíÉ=NOUI=_Éåë~äÉãI=m^=NVMOMX=EONRF=SPVJMUMNX=~â~êéÑ]â~êéÑJä~ïKÅçã

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif f
                                                                                                       (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3 Federal Question                                                                       PTF           DEF                                            PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                     Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                           of Business In This State

❒ 2    U.S. Government                 ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                           (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                  Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY            ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’ 310 Airplane                  ❒ 365 Personal Injury -            of Property 21 USC 881            ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’ 315 Airplane Product                Product Liability      ❒ 690 Other                                     28 USC 157                        3729(a))
❒   140 Negotiable Instrument               Liability                ❒ 367 Health Care/                                                                                     ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’ 320 Assault, Libel &                Pharmaceutical                                                     PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment           Slander                        Personal Injury                                                ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’ 330 Federal Employers’              Product Liability                                              ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted               Liability                ❒ 368 Asbestos Personal                                              ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’ 340 Marine                          Injury Product                                                        New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’ 345 Marine Product                  Liability                                                      ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                        LABOR                         SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’ 350 Motor Vehicle             ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’ 355 Motor Vehicle             ❒ 371 Truth in Lending               Act                             ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                     Product Liability         ❒ 380 Other Personal         ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’ 360 Other Personal                  Property Damage                Relations                       ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                          Injury                    ❒ 385 Property Damage        ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’ 362 Personal Injury -               Product Liability       ’ 751 Family and Medical                                                 ❒ 893 Environmental Matters
                                           Medical Malpractice                                            Leave Act                                                         ❒ 895 Freedom of Information
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS          ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation            ❒ 440 Other Civil Rights          Habeas Corpus:             ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                  ❒ 441 Voting                    ❒ 463 Alien Detainee                Income Security Act                     or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒ 442 Employment                ❒ 510 Motions to Vacate                                              ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                ❒ 443 Housing/                        Sentence                                                              26 USC 7609                       Agency Decision
❒   245 Tort Product Liability             Accommodations            ❒ 530 General                                                                                          ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒ 445 Amer. w/Disabilities -
                                     u                               ❒ 535 Death Penalty                IMMIGRATION                                                                State Statutes
                                           Employment                  Other:                     ❒ 462 Naturalization Application
                                     ❒ 446 Amer. w/Disabilities -    ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                           Other                     ❒ 550 Civil Rights                 Actions
                                     ❒ 448 Education                 ❒ 555 Prison Condition
                                                                     ❒ 560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                          ❒    3    Remanded from             ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                   ❒ 8 Multidistrict
        Proceeding                State Court                       Appellate Court               Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                          (specify)                      Transfer                         Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      ^a^=EQOrp`NONMNF
VI. CAUSE OF ACTION Brief description of cause:
                       sáçä~íáçåë=çÑ=íÜÉ=^a^I=meo^=~åÇ=m^=`çããçå=ä~ïK
VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION     DEMAND $                                                                                  CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                    JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                                                                                             DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
           NMLPMLOMOP
FOR OFFICE USE ONLY

     RECEIPT #                    AMOUNT                                    APPLYING IFP                                    JUDGE                               MAG. JUDGE

                  Print                               Save As...                                                                                                                   Reset
